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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
POUGHKEEPSIE DIVISION
------------------------------------------------------------------x

In re:


Maria S Stanton (aka Maria Salud Stanton),                            Case No. 19-35245-cgm

                                                                      Chapter 7

                                                                      HON. CECELIA G. MORRIS
         Debtor(s).
------------------------------------------------------------------x

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

TO:      THE HONORABLE CECELIA G. MORRIS
         CHIEF UNITED STATES BANKRUPTCY JUDGE

         Secured Creditor, NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER, by and

through the undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d)(1)

and (d)(2), for a modification of the automatic stay provisions for cause, and, in support thereof,

states the following:

1.       Debtor(s), Maria S Stanton (aka Maria Salud Stanton), filed a voluntary petition pursuant

to Chapter 7 of the United States Bankruptcy Code on February 22, 2019. Debtor(s) are not

infants, incompetent, or currently on active duty in the military service of the United States of

America. See Federal Rule of Civil Procedure 55 Affidavit, attached hereto as Exhibit “A.”

2.       On March 8, 2010, Debtor(s) executed and delivered a Promissory Note (“Note”) and a

Mortgage (“Mortgage”) securing payment of the Note in the amount of $280,819.00 to PHH

Home Loans, LLC d/b/a/ Coldwell Banker Home Loans. The Mortgage was recorded on March

31, 2010 in Liber #5582 at Page 101 of the Public Records of Putnam County, New York. The

Mortgage was assigned to Secured Creditor. True and accurate copies of documents establishing

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a perfected security interest and ability to enforce the terms of the Note are attached hereto as

Composite Exhibit “B.”       The documents include copies of the Note with any required

indorsements, Recorded Mortgage, Assignment(s) of Mortgage, and any other applicable

documentation supporting the right to seek a lift of the automatic stay and foreclose, if necessary.

3.     Attached are redacted copies of any documents that support the claim, such as promissory

notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgements,

mortgages, and security agreements in support of right to see a lift of the automatic stay and

foreclose if necessary.

4.     The mortgage provides Secured Creditor a lien on the real property located at 43 Union

Road, Carmel, NY 10512, in Putnam County, and legally described as stated in the mortgage

attached in Composite Exhibit “B.”

5.     The terms of the aforementioned Note and Mortgage have been in default, and remain in

default, since May 1, 2017, with arrears in the amount of $55,950.37 as of March 6, 2019. A true

and accurate copy of Secured Creditor’s statement in regard to indebtedness and default is

attached hereto as Exhibit “C.” As per the Secured Creditor’s statement the total amount due is

$297,152.78.


6.     The stated value, per Debtor’s Schedule D, of the property is $215,000.00. See Exhibit

“D” which is attached hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

7.     Based upon the Debtor(s)’ schedules, the property is surrendered and claimed as < non-

exempt. The Trustee has not abandoned the property.

8.     Secured Creditor’s security interest in the subject property is being significantly

jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents while

Secured Creditor is prohibited from pursuing lawful remedies to protect such interest. Secured

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Creditor has no protection against the erosion of its collateral position and no other form of

adequate protection is provided.

9.     If Secured Creditor is not permitted to enforce its security interest in the collateral or be

provided with adequate protection, it will suffer irreparable injury, loss, and damage.

10.    Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

this case pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of adequate

protection to Secured Creditor for its interest in the above stated collateralThe value of the

collateral is insufficient in and of itself to provide adequate protection which the Bankruptcy

Code requires to be provided to the Secured Creditor. Secured Creditor additionally seeks relief

from the Automatic Stay pursuant to §362(d)(2) of the Bankruptcy Code, as the collateral is

unnecessary to an effective reorganization of the Debtor’s assets.

11.    The Trustee shall be notified of any surplus monies realized upon sale of the property in a

foreclosure proceeding brought by Secured Creditor.

12.    No previous application has been made for the relief request herein.

13.    Secured Creditor has incurred court costs in the amount of $181.00 (filing fee) and

attorney’s fees in the amount of $750.00, in this proceeding and will incur additional fees, costs

and expenses in foreclosing the Mortgage and in preserving and protecting the property, all of

which additional sums are secured by the lien of the mortgage. Secured Creditor seeks an award

of its reasonable attorneys’ fees and costs, or alternatively, leave to seek recovery of its

reasonable attorneys’ fees and costs in any pending or subsequent foreclosure proceeding.

14.    Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

stay of any act against property of the estate under § 362(a) shall continue until this Court orders

or the stay is otherwise terminated by operation of law.


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       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d)(1) and (d)(2) to permit Secured Creditor to take any

and all steps necessary to exercise any and all rights it may have in the collateral described

herein, to gain possession of said collateral, to seek recovery of its reasonable attorneys’ fees and

costs incurred in this proceeding, and for any such further relief as this Honorable Court deems

just and appropriate.



Dated: March 14, 2019
       Westbury, NY
                                              By: /s/ Barbara Whipple____
                                              Barbara Whipple, Esq.
                                              Attorneys for Movant
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                                              Westbury, New York 111590
                                              518-952-6485
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